Case 7:17-cr-00762 Document 67 Filed on 03/23/19 in TXSD Page 1 of 5
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                  March 25, 2019
                                                                David J. Bradley, Clerk
Case 7:17-cr-00762 Document 67 Filed on 03/23/19 in TXSD Page 2 of 5
Case 7:17-cr-00762 Document 67 Filed on 03/23/19 in TXSD Page 3 of 5
Case 7:17-cr-00762 Document 67 Filed on 03/23/19 in TXSD Page 4 of 5
Case 7:17-cr-00762 Document 67 Filed on 03/23/19 in TXSD Page 5 of 5
